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                   IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                              §
In re:                                                        §     Case No. 17-31646
                                                              §
MONTCO OFFSHORE,INC., et al.'                                 §     Chapter 11
                                                              §
                  Debtors.                                    ^ (Jointly Administered)
                               CERTIFICATE OF SERVICE RE:

Docket             NOTICE OF FILING OF PROPOSED ORDER REGARDING
No. 708            MEDIATION



         1, Mabel Soto, state as follows:

         1.       1 am over eighteen years of age and 1 believe the statements contained

herein are true based on my personal knowledge. My business address is c/o BMC

Group, Inc., 3732 West 120th Street, Hawthorne, California 90250.

         2.       On December 14, 2017, at the direction of Drinker Biddle & Reath LLP,

counsel to Debtors and Debtors-in-Possession, the above referenced document was

served on the parties listed in Exhibit A via the modes of service indicated thereon:

HI




'The Debtors in these chapter 11 cases, together with the last four(4) digits of each Debtor's federal tax
identification number, are Montco Offshore, Inc.(1448)and Montco Oilfield Contractors, LLC(9886).
The mailing address for the Debtors, solely for the purposes of notices and communications, is 17751 Hwy
3235, Galliano, Louisiana 70354.




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Exliibit A      Address List regarding Docket No. 708
                   •    The Master Service List Parties are referenced in Service Lists
                        66272 and 66364
                   •    The Affected Parties are referenced in Service Lists 66365 and
                        66366


       I declare under penalty of perjury under the laws of the State of California that the

foregoing is true and correct.

       Executed on the 15th day of December 2017 at Hawthorne, California.




                                                     Mabel Soto




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Montco
Total number of parties: 153



Exhibit A - Montco

                                                                                                      Mode of Service
Svc Lst Name and Address of Served Party

 66272 ADAMS AND REESE LLP. JOHN M. DUCK. VICTORIA WHITE.(RE: REGIONS BANK).                          E-mail

       JOHN.DUCK@ARLAW.COM
                                                                                                      E-mail
 66272 ADAMS AND REESE LLP. JOHN M. DUCK. VICTORIA WHITE.(RE: REGIONS BANK).
       VICTORIA.WHITE@ARLAW.COM
                                                                                                      E-mail
 66272 ADAMS AND REESE LLP. ROBIN B. CHEATHAM.(RE: ODYSSEA MARINE. INC.).
       ROBIN.CHEATHAM@ARLAW.COM
                                                                                                      E-mail
 66272 ALLEN & GOOCH.A LAW CORPORATION,CADE EVANS(LA BAR NO.24405),(RE: DALE MARTIN
       OFFSHORE. LLC). CADEEVANS@ALLENGOOCH.COM
                                                                                                      E-mail
 66272 ALLEN & GOOCH.A LAW CORPORATION. EMILE JOSEPH.JR(LA BAR NO. 14410).(RE: PETRO PULL. LLC).
           EMILEJOSEPH@ALLENGOOCH.COM
                                                                                                      E-mail
 66272 ALLEN & GOOCH.A LAW CORPORATION, EMILE JSEPH, JR.(LA BAR NO. 14410),(RE: BOWLS SLIPS &
       GRIPS. LLC). EMILEJOSEPH@ALLENGOOCH.COM
                                                                                                      E-mail
 66272 ALLEN & GOOCH.JOHN H HUGHES.(RE: SWIVEL RENTAL & SUPPLY LLC).
           JOHNHUGHES@ALLENGOOCH.COM
                                                                                                      US Mail(1st Class)
 66366 ALLIANCE ENERGY SERVICES LLC. ERIC TROSCLAIR. MANAGER,PO BOX 999, LAROSE, LA. 70373
                                                                                                      E-mail
 66365 ALLIANCE ENERGY SERVICES LLC, ERIC TROSCLAIR, MANAGER.
       ETROSCLAIR@ALLIANCEOFFSHORE.COM
                                                                                                      E-mail
 66272 ANDREWS KURTH KENYON LLP, JOSEPH P. ROVIRA, ASHLEY L. HARPER.(RE: PROSERV OPERATIONS.
       INC.). ASHLEYHARPER@ANDREWSKURTH.COM
                                                                                                      E-mail
 66272 ANDREWS KURTH KENYON LLP. JOSEPH P. ROVIRA. ASHLEY L. HARPER.(RE: PROSERV OPERATIONS.
           INC.). JOSEPHROVIRA@ANDREWSKURTH.COM
                                                                                                      E-mail
 66272 ASSISTANT ATTORNEY GENERAL. JOHN MARK STERN,(RE:TX COMPTROLLER OF PUBLIC ACCOUNTS).
           JOHN.STERN@OAG.TEXAS.GOV
                                                                                                      US Mail (1st Class)
 66364 AT&T.PO BOX 105414. ATLANTA. GA. 30348-5414
                                                                                                      US Mail (1st Class)
 66364 AT&T.PO BOX 5014. CAROL STREAM. IL. 60197-5014
                                                                                                      US Mail (1st Class)
 66364 AT&T MOBILITY. PO BOX 5014. CAROL STREAM, IL, 60197-5014
                                                                                                      E-mall
 66272 BAKER. DONELSON. BEARMAN. CALDWELL. LACEY E ROCHESTER.(RE:STANSBURY & ASSOCIATES.
           LLC). LROCHESTER@BAKERDONELSON.COM
                                                                                                      US Mail (1st Class)
 66364 BUREAU OF OCEAN ENERGY MANAGEMENT.(BOEM), 1849 C STREET. NW. WASHINGTON. DC,20240
                                                                                                      US Mail (1st Class)
 66364 BUREAU OF SAFETY & ENVIRONMENTAL. ENFORCEMENT(BSEE). 1849 C STREET. NW. WASHINGTON,
           DC,20240
                                                                                                      E-mail
 66272 CARLETON LORASO HEBERT ET AL, MARTIN S BOHMAN; VICTOR R LORASO,(RE: OFFSHORE
           TECHNICAL SOLUTIONS. LLC). MBOHMAN@CLHWLAW.COM
                                                                                                      E-mail
 66272 CARLETON LORASO HEBERT ET AL. MARTIN S BOHMAN:VICTOR R LORASO,(RE: OFFSHORE
           TECHNICAL SOLUTIONS. LLC), VLORASO@CLHWLAW.COM
                                                                                                      E-mail
 66272 CARVER, DARDEN, KORETZKY. ET AL LLC. D F WAGUESPACK & B T DARDEN,(RE: ALLIANCE ENERGY &
           ALLIANCE OFFSHORE). BDARDEN@CARVERDARDEN.COM
                                                                                                      E-mall
 66272 CARVER. DARDEN. KORETZKY. ET AL LLC. D F WAGUESPACK & B T DARDEN.(RE: ALLIANCE ENERGY &
           ALLIANCE OFFSHORE). WAGUESPACK@CARVERDARDEN.COM
                                                                                                      US Mail (1st Class)
 66366 CARVER DARDEN. KORETZKY. TESSIER. ET AL. LLC.(RE: ALLIANCE ENERGY SERVICES LLC). DAVID F.
           V^AGUES^              T. DARDEN. 1100 POYDRAS STREET. SUITE 3100. NEW ORLEANS. LA. 70163
                                                                                                      E-mail
 66365 CARVER.DARDEN.KORETZKY.ET AL, LLC. DAVID F WAGUESPACK;BRANDON T DARDEN.
           BDARDEN@CARVERDARDEN.COM
                                                                                                      US Mail (1st Class)
 66364 CONT MESSAGE SOL. INC.. 41 SOUTH GRANT AVENUE. COLUMBUS, OH.43215
                                                                                                       US Mali (1st Class)
 66364 DATA TECHNOLOGY SOLUTIONS. P O 880, BREAUX BRIDGE. LA. 70517-0880
                                                                                                      E-mail
 66272 DEPARTMENT OF JUSTICE. ANTITRUST DlV. OFFICE OF OPERATIONS,ANTITRUST.ATR@USDOJ.GOV

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Exhibit A - Montco

Svc Lst Name and Address of Served Party                                                            Mode of Service

 66364     DEPARTMENT OF JUSTICE. ANTITRUST DIV, OFFICE OF OPERATIONS. US ATTORNEY GENERAL.950      US Mail (1st Class)
           PENNSYLVANIA AVE. NW. ROOM 3322. WASHINGTON. DC.20530
 66272     DEPT OF THE ARMY CORPS OF ENG-FA0B2. ATTN: MARTIN S MAYER.                               E-mail
           MARTIN.S.MAYER@USACE.ARMY.MIL
 66364     DEPT OF THE ARMY CORPS OF ENG-FA0B2, ATTN: MARTIN S MAYER.7400 LEAKE AVE. NEW ORLEANS.   US Mail (1st Class)
           LA. 70118-3651

 66364     DEXCOMM. 518 PATIN ROAD. CARENCROW. LA. 70520                                            US Mall (1st Class)

 66272 DIAMOND MCCARTHY LLP. CHARLES M. RUBIO & MICHAEL FRITZ,(RE: OIL STATE INTL INC&SKAGAT        E-mail
       SMATCOLLC). MFRITZ@DIAMONDMCCARTHY.COM
 66272 DIAMOND MCCARTHY LLP. CHARLES M. RUBIO & MICHAEL FRITZ.(RE: OIL STATE INTL INC&SKAGAT        E-mail

       SMATCOLLC). CRUBIO@DIAMONDMCCARTHY.COM
                                                                                                    E-mail
 66272 DIAMOND MCCARTHY LLP. CHARLES M. RUBIO & MICHAEL FRITZ.(RE: OIL STATE INTL INC&SKAGAT
       SMATCOLLC). CMURRAY@DIAMONDMCCARTHY.COM
 66364     DIRECTTV,PO BOX 6001. ATLANTA. GA,30348-5249                                             US Mall (1st Class)

 66272 DLA PIPER LLP(US). ADAM LANZA.(RE: DEBTORS). ADAM.LANZA@DLAPIPER.COM                         E-mail

                                                                                                    E-mail
 66272 DLA PIPER LLP(US). DAVID E. AVRAHAM.(RE: DEBTORS). DAVID.AVRAHAM@DLAPIPER.COM
                                                                                                    E-mail
 66272 DLA PIPER LLP (US). VINCENT P. SLUSHER.(RE: DEBTORS). DANIEL.SIMON@DLAPIPER.COM
                                                                                                    E-mail
 66272 DLA PIPER LLP (US), VINCENT P. SLUSHER,(RE: DEBTORS). ANDREW.ZOLLINGER@DLAPIPER.COM
                                                                                                    E-mail
 66272 DLA PIPER LLP (US), VINCENT P. SLUSHER.(RE: DEBTORS). JAMES.NOBLETT@DLAPIPER.COM
                                                                                                    E-mail
 66272 DORE LAW GROUP.P.O., C. DORE,JR. A. SPEER, K LEWINSKI,(RE: DIVERSE SAFETY AND SCAFFOLDING
       LLC). KLEWINSKI@DORELAWGROUP.NET
                                                                                                    E-mail
 66272 DORE LAW GROUP.P.O., C. DORE. JR. A. SPEER. K LEWINSKI.(RE: DIVERSE SAFETY AND SCAFFOLDING
       LLC). CARL@DORELAWGROUP.NET
                                                                                                    E-mail
 66272 DUVAL FUNDERBURK SUNDBERY ET AL.. STANWOOD R. DUVAL.(RE: GULFSTREAM SERVICES. INC.).
       STAN@DUVALLAWFIRM.COM
                                                                                                    E-mail
 66272 DUVAL. FUNDERBURK. SUNDBERY. ET AL.. STANWOOD R. DUVAL.(RE: LEBLANC & ASSOCIATES. LLC).
           STAN@DUVALLAWFIRM.COM
                                                                                                    US Mail (1st Class)
 66364 ENTERGY. PO BOX 8108. BATON ROUGE. LA. 70891-8108
                                                                                                    US Mall (1st Class)
 66364 ENVIRONMENTAL PROTECTION AGENCY. REGION 4. ATLANTA FEDERAL CENTER.61 FORSYTH STREET.
           SW. ATLANTA. GA. 30303-3104
                                                                                                    US Mail (1st Class)
 66364 ENVIRONMENTAL PROTECTION AGENCY.SCOTT PRUITT.ADMINISTRATOR. OFC OF THE
       ADMINISTRATOR MC 1101A. 1200 PENNSYLVANIA AVENUE. N W.WASHINGTON. DC.20460
                                                                                                    US Mail (1st Class)
 66364 FEDERAL ENRGY REGULATORY COMMISSION. 888 FIRST STREET. NE. WASHINGTON. DC. 20426
                                                                                                    E-mail
 66272 GARDERE WYNNE SEWELL LLP. DAVID S. ELDER.(RE: OCEANEERING INTERNATIONAL INC).
           DELDER@GARDERE.COM
                                                                                                    E-mail
 66272 GIEGER. LABORDE & LAPEROUSE. LLC. A A BRAUN. L M LAPEROUSE.M V GLASS.(RE: XXI GOM. LLC. ET
           AL.). Mg'lASS@GLLLAW.COM
                                                                                                    E-mail
 66272 GIEGER. LABORDE & LAPEROUSE. LLC. A A BRAUN. L M LAPEROUSE.M V GLASS.(RE: XXI GOM. LLC. ET
           AL.). LAPEROUSE@GLLLAW.COM
                                                                                                    E-mail
 66272 GIEGER. LABORDE & LAPEROUSE. LLC. A A BRAUN. L M LAPEROUSE.M V GLASS.(RE:XXI GOM.LLC. ET
           AL.). ABRAUN@GLLLAW.COM
                                                                                                    E-mail
 66272 GIEGER. LABORDE & LAPEROUSE. LLC. A A BRAUN.L M LAPEROUSE. M V GLASS.(RE:JX NIPPON OIL
           EXPLORATION USA). MGLASS@GLLLAkW.COM
                                                                                                    E-mail
 66272 GIEGER. LABORDE & LAPEROUSE. LLC. A A BRAUN.L M LAPEROUSE. M V GLASS.(RE: JX NIPPON OIL
           EXPLORATION USA). LAPEROUSE@GLLLAW.COM
                                                                                                    E-mail
 66272 GIEGER. LABORDE & LAPEROUSE. LLC. A A BRAUN.L M LAPEROUSE. M V GLASS.(RE: JX NIPPON OIL
           EXPLORATION USA). ABRAUN@GLLLAW.COM
                                                                                                    E-mail
 66272 GORDON. ARATA. MONTGOMERY ET AL LLC. STEPHEN L. WILLIAMSON. M E LANDIS.(RE: FUGRO USA
           MARINE, INC.). MLANDIS@GAMB.LAW
                                                                                                    E-mail
 66272 GORDON. ARATA. MONTGOMERY ET AL LLC. STEPHEN L. WILLIAMSON. M E LANDIS.(RE: FUGRO USA
           MARINE. INC.). SWILLIAMSON@GAMB.LAW



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Exhibit A - Montco

Svc Lst Name and Address of Served Party                                                             Mode of Service

66272 GORDON. ARATA, MONTGOMERY. BARNETT,. STEPHEN WILLIAMSON. MICHAEL LANDIS,(RE: BOLLINGER E-mail
      SHIPYARDS. INC). SWILLIAMSON@GAMB.LAW
66272 GORDON. ARATA. MONTGOMERY. BARNETT.. STEPHEN WILLIAMSON. MICHAEL LANDIS.(RE: BOLLINGER E-mail
      SHIPYARDS. INC). MLANDIS@GAMB.LAW
66272 GORDON. ARATA. MONTGOMERY. ET AL. STEPHEN WILLIAMSON. MICHAEL LANDIS.(RE: BOLLINGER            E-mail
      FOURCHON. LLC). SWILLIAMSON@GAMB.LAW
66272 GORDON. ARATA. MONTGOMERY. ET AL. STEPHEN WILLIAMSON. MICHAEL LANDIS.(RE: BOLLINGER            E-mail
      FOURCHON. LLC). MLANDIS@GAMB.LAW
66272 H. KENT AGUILLARD.(RE: EXTREME ENERGY SERVICES. LLC). KAGU1LLARD@YHALAW.COM                    E-mail
66272 HAYNES AND BOONE LLP. PATRICK L. HUGHES.(RE: A MESA HOLDNG LP & C ENERGY USA LLC).             E-mail
      PATRICK.HUGHES@HAYNESBOONE.COM
66272 HOOVER SLOVACEK LLP. CURTIS W. MCCREIGHT.(RE: CITY CENTRE THREE PARTNERS. L.P.).               E-mail
          MCCREIGHT@HOOVERSLOVACEK.COM
66272 HUSCH BLACKWELL LLP. LYNN H. BUTLER.(RE: ABRADO.INC.). LYNN.BUTLER@HUSCHBLACKWELL.COM E-mail
66364 INTERNAL REVENUE SERVICE. PO BOX 7346. PHILADELPHIA. PA. 19010-7346                            US Mail (1st Class)
66364 INTERNAL REVENUE SERVICE. CENTRALIZED INSOLVENCY OPERATION,2970 MARKET STREET.                 US Mail (1st Class)
          PHILADELPHIA. PA. 19104-5002

66364     INTERSTATE OIL AND GAS COMPACT. COMMISSION. 900 NE 23RD STREET. OKLAHOMA CITY. OK. 73105   US Mail (1st Class)

66272 JACKSON WALKER L.L.P.. B. RUZINSKY & M. CAVENAUGH.(RE: OFFSHORE SPECIALTY FABRICATORS).        E-mail
      BRUZINSKY@JW.COM
66272 JACKSON WALKER L.L.P.. B. RUZINSKY & M. CAVENAUGH.(RE: OFFSHORE SPECIALTY FABRICATORS).        E-mail
      MCAVENAUGH@JW.COM
66272 KILMER CROSBY & WALKER PLLC. BRIAN A. KILMER.(RE: FIELDWOOD ENERGY LLC & OFFSHORE LLC).        E-mail
      BKILMER@KCW-LAWFIRM.COM
66272 KILMER CROSBY & WALKER PLLC. BRIAN A. KILMER.(RE: AQUEOS CORPORATION). BKILMER@KCW-            E-mail
          LAWFIRM.COM

66272 KING. KREBS & JURGENS. P.L.L.C.. HENRY A. KING.(RE: DEEPCOR MARINE. INC.).                     E-mail
      HKING@KINGKREBS.COM
66272 KRAFT LEGE LLC. RALPH KRAFT & BRYAN LEGE,(RE: ATTORNEYS FOR AQUEOS CORPORATION).               E-mail
      REK@KGDLAWLLC.COM
66272 KRAFT LEGE LLC. RALPH KRAFT & BRYAN LEGE.(RE: ATTORNEYS FOR AQUEOS CORPORATION).               E-mail
          BEL@KGDLAWLLC.COM

66272 LA DEPT OF JUSTICE- COLLECTIONS SEC, ANTHONY D. WINTERS. ASST ATTY GEN.                        E-mail
      WIINTERSA.@AG.LOUISIANA.GOV
66364     LA FOURCHE PARISH WATER DISTRICT NO.PO BOX 399. LOCKPORT. LA. 70374                        US Mall (1st Class)
66272 LINEBARGER GOGGAN BLAIR & ET AL.. TARA L. GRUNDEMEIER.(RE: HARRIS COUNTY).                     E-mail
      HOUSTON_BANKRUPTCY@PUBLICANS.COM
66272 LOCKE LORD LLP. OMAR F. KUEBEL. III. BRADLEY KNAPP.(RE: W&T OFFSHORE. INC.).                   E-mail
          RKUEBEL@LOCKELORD.COM
66272 LOCKE LORD LLP. OMAR F. KUEBEL. III. BRADLEY KNAPP.(RE: W&T OFFSHORE. INC.).                   E-mail
          BKNAPP@LOCKELORD.COM

66272 LOCKE LORD LLP. PHILLIP G EISENBERG.MICHAEL C LUTFY.(RE: W&T OFFSHORE. INC.).                  E-mail
          PEISENBERG@LOCKELORD.COM
66272 LOCKE LORD LLP. PHILLIP G EISENBERG.MICHAEL C LUTFY.(RE: W&T OFFSHORE. INC.).                  E-mail
          MICHAEL.LUTFY@LOCKELORD.COM
66272 LOOPER GOODWINE. P.O.. PAUL J GOODWINE & LINDSEY M JOHNSON.(RE: ARGONAUT INSURANCE             E-mail
      COMPANY). PGOODWINE@LOOPERGOODWINE.COM
66272 LOOPER GOODWINE. P.O.. PAUL J GOODWINE & LINDSEY M JOHNSON.(RE: ARGONAUT INSURANCE             E-mail
          COMPANY). LJOHNSON@LOOPERGOODWINE.COM
66272 MAHTOOK & LAFLEUR. LLC. JULIE I. FAULK. RICHARD J. HYMEL.(RE: VIRAL INV. LLC DBA DHD OFFSHORE E-mail
      SVS). JFAULK@MANDLLAW.COM
66272 MAHTOOK & LAFLEUR. LLC. JULIE I. FAULK. RICHARD J. HYMEL.(RE: VIRAL INV. LLC DBA DHD OFFSHORE E-mail
          SVS). WLAFLEUR@MANDLLAW.COM


 Montco



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Exhibit A - Montco

Svc Lst Name and Address of Served Party                                                               Mode of Service

 66272 MAHTOOK & LAFLEUR, LLC. JULIE I. FAULK. RICHARD J. HYMEL,(RE: DHD OFFSHORE SERVICES. LLC).      E-mail
       JFAULK@MANDLLAW.COM
 66272    MAHTOOK & LAFLEUR. LLC, JULIE I. FAULK. RICHARD J. HYMEL.(RE: DHD OFFSHORE SERVICES. LLC),   E-mail
          WLAFLEUR@MANDLLAW.COM
 66364    MONTCO OFFSHORE, INC., 17751 HWY 3235, SUITE 500, GALLIANO, LA, 70354                        US Mali (1st Class)

 66364    MONTCO OILFIELD CONTRACTORS, LLC,842 W.SAM HOUSTON PKWY N., SUITE 500, HOUSTON. TX.          US Mall (1st Class)
          77024

 66272 NATHAN SOMMERS JACOBS. A PROF CORP. JARROD B MARTIN. TX BAR NO 24070221,(RE: FURTH OIL          E-mail
       CO). JMARTIN@NATHANSOMMERS.COM
 66272 NORTON ROSE FULBRIGHT US LLP, BOB B. BRUNER,(RE: JP MORGAN CHASE BANK. N.A.),                   E-mail
       BOB.BRUNER@NORTONROSEFULBRIGHT.COM

 66272 NORTON ROSE FULBRIGHT US LLP, LR STRUBECK, KW GLUCK,RE MANNS,(RE: JP MORGAN CHASE               E-mail

       BANK, N.A.). LOUIS.STRUBECK@NORTONROSEFULBRIGHT.COM
 66272 NORTON ROSE FULBRIGHT US LLP. LR STRUBECK, KW GLUCK, RE MANNS,(RE: JP MORGAN CHASE              E-mail

       BANK, N.A.), KRISTIAN.GLUCK@NORTONROSEFULBRIGHT.COM
 66272    NORTON ROSE FULBRIGHT US LLP, LR STRUBECK, KW GLUCK. RE MANNS.(RE: JP MORGAN CHASE           E-mail
          BANK. N.A.). RYAN.MANNS@NORTONROSEFULBRIGHT.COM
 66364    OFFICE OF NATURAL RESOURCES REVENUE. PO BOX 25165, DENVER,CO,80225-0165                      US Mail (1st Class)

66364 OFFICE OF NATURAL RESOURCES REVENUE, U S DEPARTMENT OF THE INTERIOR, PO BOX 25627,               US Mail (1st Class)
          DENVER. CO. 80225

66272 OFFICE OF THE ATTORNEY GENERAL, JOHN MARK STERN, ASST ATTY GENERAL,(RE: TEXAS                    E-mail
          WORKFORCE COMMISSION). JOHN.STERN@OAG.TEXAS.GOV
66364 OFFICE OF THE ATTORNEY GENERAL. KEN PAXTON,ATTORNEY GENERAL,PO BOX 12548, AUSTIN, TX,            US Mail (1st Class)
          78711-2548

66272 OFFICE OF THE US TRUSTEE, CHRISTINE A. MARCH,CHRISTINE.A.MARCH@USDOJ.GOV                         E-mail


66272 OFFICE OF THE US TRUSTEE, CHRISTINE A. MARCH, USTPREGION07.HU.ECF@USDOJ.GOV                      E-mail


66272 OFFSHORE SPECIALTY FABRICATORS, LLC,TAMMY NARON, CEO,TNARON@OSF-LLC.COM                          E-mail


66364 OFFSHORE SPECIALTY FABRICATORS, LLC,TAMMY NARON, CEO,115 MENARD RD.. HOUMA, LA. 70354            US Mall (1st Class)

66272 OKIN ADAMS LLP. MATTHEW S. OKIN. DAVID CURRY. JR..(RE: RICHARD SCHMIDT.TTEE BLACKELK             E-mail

      LIQTR), MOKIN@OKINADAMS.COM
 66272 OKIN ADAMS LLP. MATTHEW S. OKIN, DAVID CURRY. JR.,(RE: RICHARD SCHMIDT.TTEE BLACKELK            E-mail

       LIQTR), DCURRY@OKINADAMS.COM
 66272 OKIN ADAMS LLP, MATTHEW S. OKIN, DAVID CURRY. JR..(RE: RICHARD SCHMIDT.TTEE BLACKELK            E-mail

       LIQTR), ROCONNOR@OKINADAMS.COM
66272 OKIN ADAMS LLP, MATTHEW S. OKIN, DAVID CURRY, JR.,(RE: RICHARD SCHMIDT.TTEE BLACKELK             E-mail

      LIQTR). BROMAN@OKINADAMS.COM
66364 PELICAN WASTE AND DEBRIS, LLC. PO BOX 3694, HOUMA,LA, 70361                                      US Mall (1st Class)

                                                                                                       E-mail
66272 PHELPS DUNBAR LLP, EVANS MARTIN MCLEOD:DAVID I CLAY II.(RE: BARRY GRAHAM OIL SERVICE, LLC).
          MARTY.MCLEOD@PHELPS.COM
                                                                                                       E-mail
 66272 PHELPS DUNBAR LLP, EVANS MARTIN MCLEOD:DAVID I CLAY II,(RE: BARRY GRAHAM OIL SERVICE, LLC),
          TURK.CLAY@PHELPS.COM
                                                                                                       E-mail
 66272 PHELPS DUNBAR LLP. MICHAEL E. STREICH,(RE: BARRY GRAHAM OIL SERVICE, LLC.),
          MICHAEL.STREICH@PHELPS.COM
                                                                                                       E-mail
 66272 POLSINELLI, JAMES H. BILLINGSLEY,(RE: DEEPCOR MARINE INC.), JBILLINGSLEY@POLSINELLI.COM
                                                                                                       E-mail
 66272 POLSINELLI, MARK B. JOACHIM,(RE: DEEPCOR MARINE INC.), MJOACHIM@POLSINELLI.COM
                                                                                                       E-mall
 66272 PORTER HEDGES LLP, JF HIGGINS:JW WOLFSHOHL:EM ENGLISH,(RE: COMMITTEE OF UNSECURED
       CREDITORS), JHIGGINS@PORTERHEDGES.COM
                                                                                                       E-mail
 66272 PORTER HEDGES LLP, JF HIGGINS:JW WOLFSHOHUEM ENGLISH,(RE: COMMITTEE OF UNSECURED
       CREDITORS), JWOLFSHOHL@PORTERHEDGES.COM
                                                                                                       E-mail
 66272 PORTER HEDGES LLP, JF HIGGINSjJW WOLFSHOHLjEM ENGLISH,(RE: COMMITTEE OF UNSECURED
       CREDITORS), EENGLISH@PORTERHEDGES.COM



 Montco




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Exhibit A - Montco
                                                                                                     Mode of Service
Svc Lst Name and Address of Served Party
                                                                                                     E-mail
 66272 PORTER HEDGES LLP. JOHN F. HIGGINS, AARON J. POWER,(RE: MARITECH RESOURCES, LLC, ET AL).
           JHIGGINS@PORTERHEDGES.COM
 66272 PORTER HEDGES LLP, JOHN F. HIGGINS, AARON J. POWER.(RE: MARITECH RESOURCES,LLC, ET AL.),      E-mail

       APOWER@PORTERHEDGES.COM
                                                                                                     E-mail
 66272 RAILROAD COMMISSION OF TEXAS, ATTN: CHRISTI CRADDICK, CHRISTI.CRADDICK@RRC.STATE.TX.US
 66364 RAILROAD COMMISSION OF TEXAS,ATTN; CHRISTI CRADDICK, OIL & GAS DIVISION,PO BOX 12967,         US Mail (1st Class)
           AUSTIN,TX,78711-2967

 66366 SCANDURRO & LAYRISSON, LLC,(RE: ALLIANCE ENERGY SERVICES LLC), JEAN-PAUL LAYRISSON,607        US Mail (1st Class)
           ST. CHARLES AVE., NEW ORLEANS, LA, 70130
 66366 SCANDURRO & LAYRISSON, LLC,(RE: ALLIANCE ENERGY SERVICES LLC), JEAN-PAUL LAYRISSON,           US Mail (1st Class)
           TIMOTHY SCANDURRO: KRISTA ELEEW,607 ST. CHARLES AVE., NEW ORLEANS, LA, 70130
                                                                                                     E-mail
 66365 SCANDURRO & LAYRISSON, LLC, JEAN-PAUL LAYRISSON,JEAN-PAUL@SCANLAYR.COM
                                                                                                     E-mail
 66272 SIDLEY AUSTIN LLP, MICHAEL FISHEL,(RE: BLACKHILL PARTNERS LLC), MFISHEL@SIDLEY.COM
                                                                                                     E-mail
 66272 SIDLEY AUSTIN LLP, THOMAS A. LABUDA JR.,(RE: BLACKHILL PARTNERS LLC), TLABUDA@SIDLEY.COM
                                                                                                     E-mail
 66272 SNOW SPENCE GREEN LLP. R SPENCE, K P GREEN & HOLLY C HAMM,(RE: THMAS ENRGY SVCS DBA
       THMAS TOOL LLC), ROSS@SNOWSPENCELAW.COM
                                                                                                     E-mail
 66272 SNOW SPENCE GREEN LLP, R SPENCE, K P GREEN & HOLLY C HAMM,(RE: THMAS ENRGY SVCS DBA
       THMAS TOOL LLC), HOLLYHAMM@SNOWSPENCELAW.COM
                                                                                                     E-maii
 66272 SNOW SPENCE GREEN LLP, R SPENCE,K P GREEN & HOLLY C HAMM,(RE: THMAS ENRGY SVCS DBA
       THMAS TOOL LLC), KGREEN@SNOWSPENCELAW.COM
                                                                                                     US Mail (1st Class)
 66364 SOUTH COAST GAS COMPANY,INC., PO BOX 470, GRACELAND, LA, 70394-0470
 66364 SPRINT. PO BOX 105249, ATLANTA, GA,30348-5249                                                 US Mail (1st Class)

                                                                                                     E-mail
 66272 STRASBURGER & PRICE LLP. GINA D. SHEARER,(RE: WESTCHESTER FIRE INS CO
       COMPANY), GINA.SHEARER@STRASBURGER.COM
                                                                                                     E-maii
 66272 SUPERIOR ENERGY SERVICES INC. JEAN PAUL OVERTON,ASST GEN COUNSL,(RE: INTL SNUBBING
           SVCS & HB RENTALS LC), JEANPAUL.OVERTON@SUPERIORENERGY.COM
                                                                                                     US Mail (1st Class)
 66364 TEXAS COMM OF ENVIRONMENTAL QUALITY, RICHARD A HYDE,P E, 12100 PARK 35 CIRCLE, AUSTIN. TX,
           78753
                                                                                                     US Mail (1st Class)
 66364 TEXAS COMMISSION OF ENVIRONMENTAL. QUALITY, 12100 PARK 35 CIRCLE, AUSTIN, TX, 78753
                                                                                                     E-mail
 66272 THOMAS ENERGY SERVICES, LLC. C/0 DONALD E. BURELL, DBURELL@SLB.COM
                                                                                                     US Mail (1st Class)
 66364 TREND COMMUNICATIONS, LLC. PO BOX 747. BROUSSARD, LA. 70518
                                                                                                     E-mail
 66272 U S ATTORNEY'S OFFICE. SOUTHERN DISTRICT OF TEXAS, USATXS.ATTY@USDOJ.GOV
                                                                                                     US Mail (1st Class)
 66364 U S ATTORNEY S OFFICE. SOUTHERN DISTRICT OF TEXAS, 1000 LOUISIANA, STE 2300, HOUSTON,TX,
           77002
                                                                                                     US Mail (1st Class)
 66364 U S DEPT OF INTERIOR. ATTN: BRYAN C RICE.(BIA), BUR. INDIAN AFFAIRS, OFC TRUST SVCS, 1849 C
           STREET, NW, MS 4620-MIB, WASHINGTON. DC.20240
                                                                                                     US Mail (1st Class)
 66364 U S DEPT OF INTERIOR, ATTN: SALLY JEWELL. OFFICE OF THE SECRETARY, 1849 C STREET, N W.
           WASHINGTON,DC, 20240
                                                                                                     US Mail (1st Class)
 66364 U S DEPT OF INTERIOR, ATTN:SUE E MASICA, NATIONAL PARK SERVICE, 12795 ALAMEDA PARKWAY,
           DENVER,CO,80225
                                                                                                     E-maii
 66272 U S DEPT OF INTERIOR. GEORGE TROPIANO. ROOM 365 D, PAUL.ARCENEAUX@BOEM.GOV
                                                                                                      US Mail (1st Class)
 66364 U S DEPT OF INTERIOR, GEORGE TROPIANO. ROOM 365 D. BUREAU OCEAN ENERGY MGMT. GULF MX.
       OCS REGION, 1201 ELMWOOD PARK BLVD. NEW ORLEANS. LA, 70123-2394
                                                                                                      US Mail (1st Class)
 66364 U S DEPT OF INTERIOR, LARS HERBST.GULF OF MX OCS REGION, BUR.SAFETY & ENVIRON.
       ENFORCEMENT, 1201 ELMWOOD PARK BLVD. NEW ORLEANS, LA, 70123-2394
                                                                                                      E-mail
 66272 U S ENVIRONMENTAL PROTECTION AGENCY,ATTN: RON CURRY; R. PRZYBORSKI,
           PRZYBORSKI.JAY@EPA.GOV
                                                                                                      US Mail (1st Class)
 66364 U S ENVIRONMENTAL PROTECTION AGENCY, ATTN: RON CURRY; R. PRZYBORSKI, REGION 6. 1445 ROSS
           AVENUE. DALLAS. TX,75202-2733
                                                                                                      US Mail (lst Class)
 66364 U.S. SECURITIES & EXCHANGE COMM.,OFFICE OF REORGANIZATION.950 EAST PACES FERRY ROAD,
           STE 900, ATLANTA, GA, 30326-1382



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Exhibit A - Montco

Svc Lst Name and....      ,«
                 Address of        r. ^
                            Served Party                                                          Mode of Service

 66364 VENYU,PO BOX 919303. DALLAS. TX.75391-9303
 66364 VISION COMMUNICATIONS. PO BOX 188. LAROSE. LA. 70373                                       "J®
 66364 WAITS. EMMETT.& POPP. LLC.(RE:SPECIALMARITIMELAW COUNSL 2 DEBTOR). 1515 POYDRAS STREET. US Mail(1st Class)
        SUITE 1950. NEW ORLEANS. LA. 70112
 66272 WALLER LANSDEN DORTCH & DAVIS. LLP. ERIC J. TAUBE; MARK C. TAYLOR.(RE: REGIONS BANK).      E-mail
        ERIC.TAUBE@WALLERLAW.COM
 66272 WALLER LANSDEN DORTCH & DAVIS. LLP. ERIC J. TAUBE; MARK C.TAYLOR.(RE: REGIONS BANK).        E-mail
         MARK.TAYLOR@WALLERLAW.COM
 66272 WEINSTEIN & ST. GERMAIN. LLC.TOM ST. GERMAIN.(RE: HILLMAN MARITIME SERVICES. LLC).          E-mail
         TSTGERMAIN@WEINLAW.COM

Subtotal for this group: 153




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